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                  EXHIBIT 3
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Anand Nathan ATHAVALE
Canadian citizen, DOB: Nov 01, 1975.
Lived in New Zealand during their early teens
Education: Dropped out of College, degree in BComm
Height: 5’5”
Weight 300 Pounds

Addresses:
                                  en, BC CA



Canadian PP#’s: VD084114, TD114212
Canadian DL’s/ID’s: A8238041675110, D12542205, 037105186, 8933186
Telephone # (519) 250-9021, (250) 515-6180
Email addresses: anand@mnsi.net, sales@autodeletepro.com, sales@adpmods.com

Sister: Anita Genevieve ATHAVALE, Canadian citizen, DOB: June 21, 1978,
Father: Indian heritage
Mother: German/Czech Heritage

Handles:
Liberty Student (mises.org)
Dixieflatline (Twitter, Notreason.com)
Roscoe36 (pistonsforum.com)
Guerrilla (namecheap.com)

U.S. Crossings (1997 and up)
August 11, 2005 crossed the Ambassador Bridge
June 03, 1998 Crossed at the Sumas POE
January 11, 1997 Arrived inbound on New Zealand flight 10 from Auckland, NZ into
Honolulu, HI using Canadian Passport VD084114

Domains owned by ATHAVALE:
adp-servers.info
adpmods.com
anitaathavale.com
ariacom.net
autodeletepro.com
badboysummercamp.com
crashevent.com
dawgswap.com
dyenchir.net
dziho.com




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faafan.com
freeculturefoundation.org
griefandgrace.com
harvestreport.net
humanvictorycigar.com
ksgovernor.com
liftupthelid.com
mahcuz.com
okanaganproperty.org
oviwebportal.com
pachay.com
pistonforum.com
salmonarmproperty.com
salmonarmrealestate.org
shopgpsandsave.com
shuswapproperty.net
shuswaprealestate.org
smilequilts.com
studioprimer.com
technoarena.net
todlokey.com
tv-valjevo.com
tvi-web.com
unifyyoga.com
unifyyoga.net
unifyyoga.org
vegasjunky.com
yogafrogcaps.com
ronpauldonors.com
notreason.com
highdefinition1080i.info
highdefinition1080p.info
glitchproject.com
astroteacher.net
teenbloggersintl.org
unifiedunionworkers.org
pistonsforum.com
email4seniors.org
ceapseap.info
conficker-worm-removal.com
confickervirusremoval.com
libertyseo.com
libertyseo.net
libertyseo.org
consolegamecheater.com
reviewmobilephones.com




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laptopbuyer.info
luckygenerics.info
junksilverauctions.com
tramadolhcl.info
bupropiononline.info
buyorlistat.info
diclofenacgel.info
genericcarisoprodol.info
genericphentermine.info
rimonabantonline.info
vardenafilhcl.info
clomiphenecitrate.info
libertydoubleeagle.com
laptopsforstudents.info
usedlaptopsforsale.info
survivingbraininjury.info
buspironehcl.info
buytadalafil.info
genericsildenafil.info
achatmedicament.info
achattadalafil.info
fastprescriptions.info
secureonlinerx.info
euromedsonline.info
buyoseltamivir.info
lfeusers.com
impotencehelp.org
prescriptionrefill.info
drinkmagician.com
notjustprescriptions.com
onlineinsurancedealers.com
airtechaviation.com
facilcobro.com
szetoshuiki.com
chemicalsafetybook.com
doubleolsens.com
webautomationlab.com
brainclub.net
bubblesphere.org
devbridge.org
fivebox.org
planoodle.net
blogify.org
blogtune.net
dazzlepedia.org
zhaotongok.com




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connectorz.com
thyroidsupplement.net
ceapseap.info
fadeo.org
fivecast.org
fivefish.org
fivepath.org
jumpcast.org
pixotri.org
misosouprecipes.org
acetazolamide.net
clindamycin.me
cabergoline.me
clozapine.me
cyclosporine.me
minocycline.me
asthmainhalers.info
buyazithromycin.me
fluoxetinehcl.info
paroxetinehcl.info
venlafaxinehcl.info
buydoxycycline.info
cephalexinonline.info
lisinoprilhctz.info
majordepressivedisorder.info
orderamoxicillin.info
superfoodslist.info
bupropionhcl.info
swissballs.org
kettlebellweights.info
petmedsrx.info
athaananda.com
auction-market.com
atenolol.me
tramadol50mg.me
tadalafil20mg.me
sildenafil100mg.info
bupropiononline.info
buyorlistat.info
buytadalafil.info
clomiphenecitrate.info
diclofenacgel.info
genericcarisoprodol.info
genericphentermine.info
genericsildenafil.info
rimonabantonline.info




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survivingbraininjury.info
vardenafilhcl.info
buspironehcl.info
crashassets.com
backlinkgarden.com
backlinkgarden.me
backlinkgarden.net
backlinkgarden.org
backlinkgarden.info
sociallinkoptimization.net
sociallinkoptimization.com
sociallinkoptimization.info
sociallinkoptimization.org
shuswaprealestate.org
salmonarmproperty.com
salmonarmrealestate.org
shuswapproperty.net
okanaganproperty.org
getinception.com
getinception.info
getinception.net
getinception.org
fortunepasseseverywhere.com
cseo.bz
communityseo.co
luckydragonconvenience.com



Known/Current IP Addresses:
139.142.249.112 (First used 05/04/2012, last used to log in to namecheap.com,
11/09/2012)
119.152.223.137 (used on 02/02/2012 to log into namecheap)
119.152.21.138 (used on 01/17/2012 to log into namecheap)
216.8.170.40 (used on 04/17/2012)
216.8.163.222 (used from 12/30/2010 to 04/12/2012)
96.30.11.236 (owns/administers) (multiple websites listed above in blue)
96.30.11.237 (owns/administers) (pistonsforum.com)
96.30.11.238 (owns/administers) (teenbloggersintl.org)
96.30.11.239 (owns/administers) (unifiedunionworkers.org)
184.173.203.97 (yogafrogcaps.com, ronpauldonors.com, notreason.com,
highdefinition1080i.info, highdefinition1080p.info, glitchproject.com,
astroteacher.net)
64.74.223.30 (used for multiple websites)




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Observations of ATHAVALE:
-Every website has their whois information protected. Many of which became
protected in mid to late 2011
-Subject is a ghost- little to no personal information anywhere on the internet
-Never uses his own name on any of his websites
-Hasn’t traveled to the U.S. since 2005
-Knowledge of linux and servers
-Has administered numerous websites including the Mises.org Forums, Pistons
Forum, and his own website notreason.com.
-Stopped actively posting on Mises.org on May 11, 2011. Last post on July 03, 2011.
-Majority of his websites are no longer active
-In March of 2011 moved from Ontario to BC and registered his address as a PO Box.


Writing analysis (similarities between Liberty Student/ATHAVALE on Mises
and Dread Pirate Roberts on Silk Road/UC chats)
-Both use the same writing style when addressing others and when replying
(condescending, Etc)
-Both spells Labor as “Labour” occasionally, and as “Labor” other times
-Both use and spell the word “real-time”
-Both use the word “lemme”
-Both end sentences with “, right?”
-Both spell route as “rout”
-Both use the term “intellectual laziness”
-Both use the term and actively discuss the concept of agorism and the “agorist”
-Both use and spell the work “counter-economics” in this manner
-Both use the term “the latter”
-Both quite often capitalize smaller words they want to emphasize
-Neither uses hyphens to space out sentences or thoughts
-Both start sentences with “And” and “But” quite often.
-Both will commonly not capitalize the first word in a sentence when replying short
and quick
-Both use the term “the heart of the matter”
-Both quite often will use a backslash (/) to split words with similar meaning, and
the second word never had a space after the slash.
-Both use the term “altruistic”
-Both use the term “pal”
-Both use the term “war mongering”
-Both use the term “phoney”
-Both discuss and mention the authors Rothbard and Konkin
-Both commonly end sentences with a smilie face or with the wink smilie face
-Both sometimes end sentences with the word “amigo”
-Both use the term “anarcho-capitalist”
-Both misspell the word “alot”
-Both have discussed the paleo human
-Both use the word “bullshit”




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-Both use similar sayings about “hedge your bet” or “hedge our bets”
-Both use the cliché of not touching something with a “10 foot pole”
-Both commonly use the word “kinda”
-Both say they are knowledgeable and use “Ubuntu”
-Both actively have discussions on bitcoins
-Both have extremely similar political views




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Immigration and Customs Enforcement (ICE) Homeland Security
Investigations (HSI) Chicago O'Hare office is conducting an investigation
into the seizures of small quantities of drugs being made at the Customs
and Border Protection (CBP) International Mail Branch (IMB) at Chicago
O'Hare Airport. These seizures have been linked to anonymous online
marketplace called the Silk Road. This investigation is focused on
identifying and dismantling the Silk Road website as well as identifying
the sellers and recipients of the Scheduled Controlled Substances, as
well as the anabolic and synthetic drugs being sold on the website.

HSI O’Hare is respectfully requesting a collateral investigation by HSI
Vancouver on the Canadian citizen Anand ATHAVALE.



DETAILS OF INVESTIGATION:

Immigration and Customs Enforcement (ICE) Homeland Security
Investigations (HSI) Chicago O'Hare office is investigating multiple
seizures of various drugs being seized by Customs and Border Protection
(CBP) at the International Mail Branch (IMB). The investigation has led
to identifying the anonymous online market place referred to as "the Silk
Road" (SR) as the purchase location for the majority of the seized
controlled substances.

HSI O’Hare is respectfully requesting the assistance of HSI Vancouver to
coordinate a collateral investigation on the Canadian citizen Anand
Nathan ATHAVALE, date of birth (DOB) November 01, 1975. ATHAVALE is
suspected of operating as the main administrator under the username Dread
Pirate Roberts on the SR and SR forum.

HSI O’Hare has identified ATHAVALE as the likely identity behind the SR
administrator username Dread Pirate Roberts by using the posts on the SR
Forum, and using the chat sessions recorded by HSI Baltimore. There has
been extensive analysis of distinct writing styles, sayings, spelling
mistakes, cliches and specific nuances, which have led to determining
ATHAVALE as a highly likeable target.

The following is what identifying information is currently known about
ATHAVALE:

Anand Nathan ATHAVALE
Canadian citizen, DOB:         1975.

Lived in New Zealand during their early teens
Education: Dropped out of College, degree in BComm
Height: 5’5”
Weight 300 Pounds




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Canadian PP#’s:
Canadian DL’s/ID
Telephone # (519)
      addresses:            .net,            odeletepro.com,
     @adpmods.com

Sister: Anita Genevieve ATHAVALE, Canadian citizen, DOB:               1978,
Father: Indian heritage
Mother: German/Czech Heritage

Handles:
Liberty Student (mises.org)
Dixieflatline (Twitter, Notreason.com)
Roscoe36 (pistonsforum.com)
Guerrilla (namecheap.com)

U.S. Crossings (1997 and up)
August 11, 2005 crossed the Ambassador Bridge
June 03, 1998 Crossed at the Sumas POE
January 11, 1997 Arrived inbound on New Zeala           t 10 from Auckland,
NZ into Honolulu, HI using Canadian Passport

Domains owned by ATHAVALE:
adp-servers.info, adpmods.com, anitaathavale.com, ariacom.net,
autodeletepro.com, badboysummercamp.com, crashevent.com, dawgswap.com,
dyenchir.net, dziho.com, faafan.com, freeculturefoundation.org,
griefandgrace.com, harvestreport.net, humanvictorycigar.com,
ksgovernor.com, liftupthelid.com, mahcuz.com, okanaganproperty.org,
oviwebportal.com, pachay.com, pistonforum.com, salmonarmproperty.com,
salmonarmrealestate.org, shopgpsandsave.com,
shuswapproperty.net,shuswaprealestate.org, smilequilts.com,
studioprimer.com, technoarena.net, todlokey.com, tv-valjevo.com, tvi-
web.com, unifyyoga.com, unifyyoga.net, unifyyoga.org, vegasjunky.com,
yogafrogcaps.com, ronpauldonors.com, notreason.com,
highdefinition1080i.info, highdefinition1080p.info, glitchproject.com,
astroteacher.net, teenbloggersintl.org, unifiedunionworkers.org,
pistonsforum.com, email4seniors.org, ceapseap.info, conficker-worm-
removal.com, confickervirusremoval.com, libertyseo.com, libertyseo.net,
libertyseo.org, consolegamecheater.com, reviewmobilephones.com,
laptopbuyer.info, luckygenerics.info, junksilverauctions.com,
tramadolhcl.info, bupropiononline.info, buyorlistat.info,
diclofenacgel.info, genericcarisoprodol.info, genericphentermine.info,
rimonabantonline.info, vardenafilhcl.info, clomiphenecitrate.info,
libertydoubleeagle.com, laptopsforstudents.info, usedlaptopsforsale.info,
survivingbraininjury.info, buspironehcl.info, buytadalafil.info,
genericsildenafil.info, achatmedicament.info, achattadalafil.info,
fastprescriptions.info, secureonlinerx.info, euromedsonline.info,
buyoseltamivir.info, lfeusers.com, impotencehelp.org,
prescriptionrefill.info, drinkmagician.com, notjustprescriptions.com,
onlineinsurancedealers.com, airtechaviation.com, facilcobro.com,
szetoshuiki.com, chemicalsafetybook.com, doubleolsens.com,
webautomationlab.com, brainclub.net, bubblesphere.org,
devbridge.org, fivebox.org, planoodle.net, blogify.org,
blogtune.net, dazzlepedia.org, zhaotongok.com, connectorz.com,




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thyroidsupplement.net, ceapseap.info, fadeo.org, fivecast.org,
fivefish.org, fivepath.org, jumpcast.org, pixotri.org,
misosouprecipes.org, acetazolamide.net, clindamycin.me, cabergoline.me,
clozapine.me, cyclosporine.me, minocycline.me, asthmainhalers.info,
buyazithromycin.me, fluoxetinehcl.info, paroxetinehcl.info,
venlafaxinehcl.info, buydoxycycline.info, cephalexinonline.info,
lisinoprilhctz.info, majordepressivedisorder.info, orderamoxicillin.info,
superfoodslist.info, bupropionhcl.info, swissballs.org,
kettlebellweights.info, petmedsrx.info, athaananda.com, auction-
market.com, atenolol.me, tramadol50mg.me, tadalafil20mg.me,
sildenafil100mg.info, bupropiononline.info, buyorlistat.info,
buytadalafil.info, clomiphenecitrate.info, diclofenacgel.info,
genericcarisoprodol.info, genericphentermine.info,
genericsildenafil.info, rimonabantonline.info, survivingbraininjury.info,
vardenafilhcl.info, buspironehcl.info, crashassets.com,
backlinkgarden.com, backlinkgarden.me, backlinkgarden.net,
backlinkgarden.org, backlinkgarden.info, sociallinkoptimization.net,
sociallinkoptimization.com, sociallinkoptimization.info,
sociallinkoptimization.org, shuswaprealestate.org, salmonarmproperty.com,
salmonarmrealestate.org, shuswapproperty.net, okanaganproperty.org,
getinception.com, getinception.info, getinception.net,
getinception.org, fortunepasseseverywhere.com, cseo.bz, communityseo.co,
luckydragonconvenience.com,

Known/Current IP Addresses:
139.142.249.112 (First used 05/04/2012, last used to log in to
namecheap.com, 11/09/2012)
119.152.223.137 (used on 02/02/2012 to log into namecheap)
119.152.21.138 (used on 01/17/2012 to log into namecheap)
216.8.170.40 (used on 04/17/2012)
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96.30.11.236 (owns/administers) (multiple websites listed above in blue)
96.30.11.237 (owns/administers) (pistonsforum.com)
96.30.11.238 (owns/administers) (teenbloggersintl.org)
96.30.11.239 (owns/administers) (unifiedunionworkers.org)
184.173.203.97 (yogafrogcaps.com, ronpauldonors.com, notreason.com,
highdefinition1080i.info, highdefinition1080p.info, glitchproject.com,
astroteacher.net)
64.74.223.30 (used for multiple websites)


HSI O’Hare respectfully requests that HSI Vancouver open a collateral
case in order to work in conjunction with Canadian law enforcement to
pursue all available information on ATHAVALE. This will include possible
requests for surveillance, wire taps, personal identification records,
search warrants for email, household utility records, as well as
household energy consumption, internet use, internet connection IP
records, etc.

The HSI Chicago O’Hare investigation continues.




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